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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION



 VOIP-PAL.COM, INC.

                 Plaintiff,                        CIVIL ACTION NO. 6:21-CV-665

        v.
                                                   JURY TRIAL DEMANDED
 FACEBOOK, INC. and WHATSAPP, INC.,

                 Defendants.


                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff VoIP-Pal.com, Inc. (“VoIP-Pal”), for its Complaint against Defendants Facebook,

Inc. (“Facebook”) and WhatsApp, Inc. (“WhatsApp”) alleges as follows:

                                         THE PARTIES

        1.       Plaintiff VoIP-Pal is a Nevada corporation with its principal place of business

located at 7215 Bosque Boulevard, Waco, Texas 76710. VoIP-Pal is registered to do business in

the State of Texas.

        2.       On information and belief, Defendant Facebook is a Delaware corporation with

physical addresses in this District at 607 West 3rd Street, Austin, Texas 78701 and 300 West Sixth

Street, Austin, Texas 78701. Facebook may be served with process through its registered agent,

the Corporation Service Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701.

Facebook is registered to do business in the State of Texas and has been since at least April 8,

2009.

        3.       On information and belief, Defendant WhatsApp, Inc. (“WhatsApp”) is a Delaware

corporation with a principal place of business 1601 Willow Avenue, Menlo Park, California
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94025. WhatsApp has physical addresses in this District at 607 West 3rd Street, Austin, Texas

78701 and 300 West Sixth Street, Austin, Texas 78701. WhatsApp may be served with process

through its registered agent, the Corporation Service Company, at 211 East 7th Street, Suite 620,

Austin, Texas 78701. On information and belief, WhatsApp is a wholly-owned subsidiary of

Facebook.

       4.       On information and belief, Facebook and WhatsApp regularly conduct and transact

business in the State of Texas, throughout the United States, and within this District, and as set

forth below, have committed and continue to commit, tortious acts of infringement within and

outside the State of Texas and within this District.

                                 JURISDICTION AND VENUE

       5.       This action is a civil action for patent infringement arising under the patent laws of

the United States, Title 35, United States Code (“U.S.C.”) § 1 et seq., including 35 U.S.C. §§ 271

and 281-285. This Court has exclusive subject matter jurisdiction over this case for patent

infringement under 28 U.S.C. §§ 1331 and 1338.

       6.       This Court has personal jurisdiction over Facebook and WhatsApp by virtue of their

systematic and continuous contacts with this jurisdiction, as alleged herein, as well as because the

injury to VoIP-Pal occurred in the State of Texas and the claim for relief possessed by VoIP-Pal

against Facebook and WhatsApp for that injury arose in the State of Texas. On information and

belief, Facebook and WhatsApp have purposely availed themselves of the privileges of conducting

business within the State of Texas, such business including but not limited to: (i) at least a portion

of the infringements alleged herein; (ii) purposefully and voluntarily placing one or more

infringing products or services into the stream of commerce with the expectation that they will be

purchased by consumers in this forum; or (iii) regularly transacting or soliciting business, engaging



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in other persistent courses of conduct, or deriving or attempting to derive substantial revenue and

financial benefits from goods and services provided to individuals residing in the State of Texas

and in this District. Thus, Facebook and WhatsApp are subject to this Court’s specific and general

personal jurisdiction under due process and the Texas Long Arm Statute.

         7.      Personal jurisdiction also exists specifically over Facebook and WhatsApp because

Facebook and WhatsApp, directly or through subsidiaries or intermediaries (including customers,

distributors, retailers, and others), subsidiaries, alter egos, and/or agents – ships, distributes, offers

for sale, sells, imports, advertises, or markets in the State of Texas and in this District, one or more

products and services that infringe the Patents-in-Suit, as described particularly below. Facebook

and WhatsApp have purposefully and voluntarily placed one or more of their infringing products

and services, as described below, into the stream of commerce with the awareness and/or intent

that these products or services will be purchased or used by consumers in this District. Facebook

and WhatsApp have knowingly and purposefully shipped infringing products and provided

services into and within this District through an established distribution channel. These infringing

products and services have been and continue to be purchased and used by consumers in this

District.

         8.      VoIP-Pal’s claim for relief for patent infringement arises directly from the activities

of Facebook and WhatsApp in this District.

         9.      Upon information and belief, Facebook and WhatsApp maintain offices in Austin,

Texas,        which   they   collectively    staff   with    roughly     1,200    employees.          See

https://www.bizjournals.com/austin/news/2019/09/04/first-look-facebook-headcount-swells-as-

social.html . The Facebook/WhatsApp office at 607 W. Third St in Austin occupies 11 floors—

accounting for 256,500 square feet of office space—and has room for 1,550 employees. Id.



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Facebook and WhatsApp also occupy four floors at 300 W. 6th St., Austin. Id. Facebook has

additional offices within this District. Id. Facebook has maintained an office in Austin since at

least 2010. Id. Facebook’s and WhatsApp’s offices in this District collectively house employees

from at least sixteen different teams, including: (1) software engineering; (2) product management

(3) enterprise engineering; (4) infrastructure; (5) data & analytics; (6) legal, finance, facilities &

admin.;         (6)     sales   &    marketing;   (7)       research;       and   (8)   WhatsApp.     See

https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C%20TX&divisions

[0]=WhatsApp (last visited Mar. 20, 2020). As of March 20, 2020, open Facebook positions in

Austin included: engineering manager, global operations engineering; data engineer; hardware

systems engineer; systems project manager, solutions; technology program manager; VP of

partner operations; SMB marketing manager, global business marketing; and vertical marketing

manager, e-commerce. As of March 20, 2020, Facebook had 168 open position in Austin,

including four WhatsApp positions: risk analyst, trust, and safety; payment risk operations

manager, WhatsApp; vendor program manager, customer operations; and anti-abuse specialists,

WhatsApp                  Business        –        Trust                &         Safety.             See

https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C%20TX                        (last

visited                               March                                 20,                     2020);

https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C%20TX&divisions

[0]=WhatsApp (last visited March 20, 2020).

          10.         On information and belief, Facebook and WhatsApp, directly and/or through their

customers have transacted business in this District and has committed acts of patent infringement

in this District. Facebook and WhatsApp have a regular and established place of business in this

District. Thus, venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b).



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       BACKGROUND OF THE TECHNOLOGY AND THE PATENTS-IN-SUIT

       11.     United States Patent No. 8,630,234 (the “’234 patent”) entitled “Mobile Gateway”

was duly and legally issued by the United States Patent and Trademark Office on January 14, 2014

after full and fair examination. A copy of the ’234 patent is attached hereto as Exhibit 1.

       12.     United States Patent No. 10,880,721 (the “’721 patent”) entitled “Mobile Gateway”

was duly and legally issued by the United States Patent and Trademark Office on December 29,

2020 after full and fair examination. A copy of the ’721 patent is attached hereto as Exhibit 2.

       13.     The ’234 and ’721 patents are referred to in this Complaint as the “Patents-in-Suit”.

       14.     VoIP-Pal is the sole owner and assignee of the entire right title and interest in the

Patents-in-Suit and has the right to sue and recover damages for any current or past infringement

of the Patents-in-Suit.

       15.     The inventions of the Patents-in-Suit originated from breakthrough work and

development in the internet protocol communications field.

       16.     VoIP-Pal has provided significant improvements to communications technology by

the invention of novel methods, processes and apparatuses that facilitate communications across

and between internet protocol based communication systems and other networks, such as

internally controlled systems and external networks (e.g., across private networks and between

private networks and public networks), including providing access to and routing through internet

protocol based communication systems.

       17.     The earliest telephone systems to receive public use within the United States

involved a telephone directly connected to a human operator. A portion of the phone rested on a

mechanical hook such that the operator was signaled when the portion was lifted from the hook.

A caller would then say the name of the person they wished to call to the operator. If the callee



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was connected to the same telephone switch board the operator would physically pull out a cable

associated with the caller’s phone and plug the cable into a socket associated with the callee’s

telephone. If the callee was associated with a different switchboard, and thus out of reach of the

operator, a second operator would be involved to bridge the gap to the appropriate switchboard.

While initially very effective compared to no telephone service, this structure quickly proved error

prone (operators would connect the wrong party) and limiting to the number of possible telephones

because of the physical limits of switchboards and cable to be pulled. This basic system

corresponds to the introduction of a Plain Old Telephone Service (“POTS”) connection to the

operator. In these configurations, there was a dedicated, point-to-point electrical connection

between the caller and the callee.

       18.     Rotary dialing eventually was introduced, beginning at around the turn of the 20th

century, where a rotary disk was marked with numbers from zero to nine. A caller would spin the

wheel and a mechanical device in the telephone would cause a sequence of electrical pulses to be

sent to the network corresponding to the digit dialed, for example, four pulses would be sent for

the number four. Rather than speaking to a human operator, an electric device would count the

pulses and begin to route a call once an appropriate and valid sequence of digits was dialed by the

caller. This advancement improved reliability of call routing and reduced the time required to

initiate a call. But, even so, there was a dedicated, point-to-point electrical connection between

the caller and the callee. As multiple companies entered the market of telephone service and the

number of customers increased, an issue emerged where a caller would be a customer of one

telephone company and the callee would be a customer of another. The solution that emerged to

this problem was to introduce trunk lines connecting one company to another.




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        19.      Eventually, as the number of companies continued to increase and telephone

services spread over much larger geographic areas, the notion of a Public Switched Telephone

Network (“PSTN”) emerged. The term derives from the notion, at least in part, that the dedicated

wires used to connect the caller and callee were “circuit-switched” to connect the two parties. The

PSTN developed gradually into the middle of the 20th century, still built around the notion of

rotary dialing and POTS connections to the individual telephones. These calls involved analog

communications over circuit-switched electrical connections. A circuit-switched network

involves assigning dedicated resources, such as switch settings and specific wires, to establish a

link from the caller to the callee. While the call is ongoing, these resources cannot be used for any

other communications.

        20.      The next important advancement for consumer telephone service, introduced

broadly during the second half of the 20th century, was the introduction of push-button telephones.

With such telephones the rotary dial was replaced by a matrix of buttons, each labeled with a digit

from zero through nine along with the additions of ‘*’ and ‘#’. The underlying signaling

technology was called dual-tone multiple-frequency (“DTMF”) and involves two different audible

tones being sent simultaneously from the telephone into the telephone network. A receiver within

the network decoded these tones and formed them into a sequence of digits indicating the number

of the callee.

        21.      Around this same time a scheme for international telephone addressing was

introduced, with a numeric protocol for identifying one country from another and providing

country-specific routing within the destination country. The E.164 standard now documents how

a caller anywhere in the world, for example, in Ann Arbor, Michigan, can identify a telephone

number at any other location, such as Avignon, France. While many of these advances, such as



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DTMF dialing and automated international routing, may have been originally introduced via ad

hoc methods, eventually they required multiple parties (companies and governments) to agree on

protocols to enable wide-spread reliable use and inter-operability among different telephone

communications networks. Even with all these advances, the systems still relied on circuit-

switched technology that dedicated resources between the caller and the callee for the duration of

a call. The move to take human operators out of the loop, with the introduction of rotary dialing,

combined with the fast increase in demand for telephone services throughout the 20th century,

resulted in the development of automated telephone switches. These devices comprised a set of

input ports, each dedicated to, and associated with a specific caller, and output ports, each capable

of being associated with a callee. A small local telephone system may have had a single switch

while a larger service would use a large number of switches that were connected to each other. A

switch from a local service provider would be connected to a trunk line which then connected to

an input switch of another service provider. These switches originally supported analog voice calls

initiated via rotary dialing and dedicating input and output ports as well as physical wires for each

circuit-switched call.

       22.     Eventually analog voice services were replaced within the network with digital

voice. Digital voice is communicated using a sequence of chunks (or packets) of data. This

advancement allowed physical resources to be shared among multiple calls over short bursts of

time. For example, a physical wire can move a packet for one call at a specific instance in time

and then move a packet for a totally different call subsequently, only to later return to transfer a

new packet for the original call. This advance is called packet-switched communications and

provided an important increase in network reliability and efficiency while driving down the cost.

However, in most situations throughout the 20th century (and often still today), the connection to



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the end user’s physical telephone is analog. While network switches operate via digital circuitry,

and often comprise programmable processors executing software, they tend to be dedicated

special-purpose devices. The conversion between analog and digital encoding is typically done at

the point where the PSTN network switch connects to the POTS handset, for example, at a device

called a Class-5 telephone switch, which connects the customer POTS handset to the PSTN

network of a service provider’s central office.

       23.    The Internet became important to consumers, via broad deployment, during the late

1980’s and early 1990’s. Eventually available bandwidth and reliability increased to the point

where pioneers began to experiment with techniques to carry voice communications over the

Internet. These early efforts began to focus on techniques called Voice Over Internet Protocol

(VOIP) and session initiation protocol (SIP). VOIP provided a consistent set of protocols and

mechanisms for moving digital voice packets between two callers using the Internet rather than

existing PSTN networks. SIP provided a mechanism for establishing and terminating

communication sessions such as calls between users of a VOIP service. For example, a callee

could register with a VOIP service so that an identifier (such as their name, email address or a

nickname) could be associated with the computer to which they are logged in. Eventually VOIP

services increased to provide interoperability with the existing PSTN services. For example, the

company Skype began to allow a user to call a PSTN number using a feature marketed as “Skype

out”. However, the user was required to explicitly classify the call as a PSTN call by specifying a

real physical telephone number. In this case the VOIP system had to include a gateway to bridge

from the VOIP network to the PSTN network in order to route to the physical telephone. Calls

that used a proprietary non-PSTN user identifier such as an email or nickname remained within

the VOIP network and were not routed to the PSTN network to a POTS telephone.



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       24.     The advent of digital cellular networks in the 1990’s allowed customers to

physically move their mobile phones from one location to another and enabled convenient mobile

calling. However, despite the increasing popularity of the Internet and the development of

Internet-based VOIP services such as Skype, mobile phone users were forced to use conventional

calling processes to place calls over the then-existing mobile phone and PSTN communication

infrastructure. Also, mobile phone users often had to pay roaming charges for calls if they were

not located in their home area or incurred significant costs to place long-distance calls if the called

party was not local. One technique developed for avoiding the long distance charges charged by

mobile telephone service providers was to use a calling card to place a call to a local telephone

number or to a less-expensive phone number (such as a toll-free number), but this technique was

cumbersome and complex as it required the user to dial a special set of numbers or codes.

However, the Patents-in-Suit disclose and claim a distinct manner of mobile call routing.

       25.     Digifonica, a wholly owned subsidiary of patent owner VoIP-Pal, starting in 2004

eventually came to employ over a dozen top professionals (e.g., software developers, system

administrators, QA/test analysts) including three Ph.D.’s with engineering backgrounds, to

develop innovative software solutions for communications. Digifonica spent over $15,000,000

researching, developing, and testing a communication solution capable of seamlessly integrating

a private voice-over-IP (“VoIP”) communication network with an external network (i.e., the

“public switched telephone network” or “PSTN”), by bridging the disparate protocols, destination

identifiers and addressing schemes used in the two networks. Furthermore, Digifonica’s system

optimized the choice of communication infrastructure to be used for any given call based on the

location of the caller and/or callee. Digifonica’s system chose the optimal infrastructure to route

both calls placed over cellular and PSTN networks or placed via internet protocol networks. By



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the mid-2000’s, Digifonica had successfully tested intra- and inter-network communications (i.e.,

communications within the private Digifonica system and between the Digifonica system and the

PSTN) by implementing high-capacity communication nodes across three geographic regions,

including actual working communication nodes in Vancouver (Canada) and London (UK).

Digifonica’s R&D efforts led to a number of patent grants, including the Patents-in-Suit.

       26.    The Patents-in-Suit describe novel systems, apparatuses and methods for providing

an access code to roaming mobile communication devices such as smartphones, to enable access

to suitable communication routing infrastructure, wherein the selection of the communication

channel for a call can be optimized based on the calling device’s current location.

                OVERVIEW OF THE ACCUSED INSTRUMENTALITIES

       27.    Each of the instrumentalities described in this Complaint made, used, sold, offered

for sale, and/or imported by Facebook and WhatsApp comprise systems, devices and computer-

executable program code relating to and supporting communications using devices, computers,

servers, systems and methods used by, operated by and performed by Facebook and WhatsApp.

       28.    Facebook makes, supports, and operates a messaging and communication platform

(the “Facebook-Messenger Calling System”). The Facebook-Messenger Calling System includes

Facebook Messenger, or simply Messenger, which is a cross-platform centralized messaging and

voice-over-IP service owned by Facebook, Inc. Messenger allows smartphone and desktop users

to send text messages and voice messages, make voice and video calls, and share images,

documents, user locations, and other content.

       29.    In the Facebook-Messenger Calling System, users of the desktop computers,

laptops, tablets, smartphones, and mobile devices can send messages including text, images, video




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and audio to others using the software applications running on such devices. Messenger Calling

includes a voice calling service on most supported devices.

       30.    The Facebook-Messenger Calling System enables mobile telephone and mobile

device roaming. The Facebook-Messenger Calling System produces an access code identifying a

communication channel useable by the mobile telephone or device to initiate a call to a callee

using the channel. In the Facebook-Messenger Calling System, the access code is based on a

location identifier and/or based on a location pre-associated with the mobile telephone or device.

       31.    Facebook makes, supports, and operates a messaging and communication platform

(the “Facebook-WhatsApp Calling System”). The Facebook-WhatsApp Calling System includes

WhatsApp Messenger, or simply WhatsApp, which is a cross-platform centralized messaging and

voice-over-IP service owned by Facebook, Inc. WhatsApp allows smartphone and desktop users

to send text messages and voice messages, make voice and video calls, and share images,

documents, user locations, and other content.

       32.    In the Facebook-WhatsApp Calling System, users of the desktop computers,

laptops, tablets, smartphones, and mobile devices can send messages including text, images, video

and audio to others using the software applications running on such devices. WhatsApp Calling

includes a voice calling service on most supported devices.

       33.    The Facebook-WhatsApp Calling System enables mobile telephone and mobile

device roaming. The Facebook-WhatsApp Calling System produces an access code identifying a

communication channel useable by the mobile telephone or device to initiate a call to a callee

using the channel. In the Facebook-WhatsApp Calling System, the access code is based on a

location identifier and/or based on a location pre-associated with the mobile telephone or device.




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         34.   The Facebook-Messenger Calling System and the Facebook-WhatsApp Calling

System are referred to in this Complaint as the Accused Instrumentalities.

                                   COUNT 1
                     INFRINGEMENT OF U.S. PATENT NO. 8,630,234

         35.   Paragraphs 1 through 34 are incorporated by reference as if fully stated in this

Count.

         36.   The Facebook and WhatsApp Defendants, either alone or in conjunction with

others, have infringed and continue to infringe, both directly and indirectly, one or more claims of

the ’234 patent, including at least exemplary claim 20, under 35 U.S.C. § 271, either literally

and/or under the doctrine of equivalents, by making, using, offering to sell, selling, and/or

importing into the United States at least certain methods, apparatuses, products and services used

for communication, including, without limitation, the Accused Instrumentalities.

         37.   For example, the Facebook and WhatsApp Defendants infringe exemplary claim

20 of the ’234 patent by making, using, offering to sell, selling, and/or importing into the United

States at least the Accused Instrumentalities as detailed in Exhibit 3 to this Complaint.

         38.   On information and belief, the Facebook and WhatsApp Defendants have had

knowledge of the ’234 patent since at least January 14, 2014 when the ’234 patent issued.

         39.   Alternatively, Facebook has had knowledge of the ’234 patent since at least

December 18, 2015 based on a letter that VoIP-Pal sent Facebook notifying Facebook of the ’234

patent. After acquiring that knowledge, Facebook infringed the ’234 patent and in doing so, it

knew, or should have known, that its conduct amounted to infringement of the ’234 patent.

Facebook intentionally and deliberately did not respond to VoIP-Pal’s letter despite being

subjectively aware of the risk that its conduct constituted infringement.




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       40.     Alternatively, WhatsApp has had knowledge of the ’234 patent since at least

February 2, 2016 based on a letter that VoIP-Pal sent WhatsApp notifying WhatsApp of the ’234

patent. After acquiring that knowledge, WhatsApp infringed the ’234 patent and in doing so, it

knew, or should have known, that its conduct amounted to infringement of the ’234 patent.

WhatsApp intentionally and deliberately did not respond to VoIP-Pal’s letter despite being

subjectively aware of the risk that their conduct constituted infringement.

       41.     Alternatively, the Facebook and WhatsApp Defendants have had knowledge of the

’234 patent and their infringement of the ’234 patent based at least on the filing of this Complaint.

       42.     Despite their knowledge and notice of the ’234 patent as of at least the filing of this

Complaint, the Facebook and WhatsApp Defendants have continued to make, use, sell, offer to

sell, and /or import the Accused Instrumentalities in the United States in a manner that infringes

the ’234 patent. The Facebook and WhatsApp Defendants knew or should have known that their

actions constituted infringement of the ’234 patent. Upon information and belief, the Facebook

and WhatsApp Defendants have failed to take adequate steps to avoid infringing the ʼ234 patent,

despite having been on notice of and lacking permission to practice the ʼ234 patent. Upon

information and belief, the Facebook and WhatsApp Defendants will continue to reap significant

revenues and savings based on their infringement of the ’234 patent. Accordingly, the Facebook

and WhatsApp Defendants’ infringement has been and continues to be willful.

       43.     The Facebook and WhatsApp Defendants have induced infringement, and continue

to induce infringement, of one or more claims of the ’234 patent under 35 U.S.C. § 271(b). The

Facebook and WhatsApp Defendants actively, knowingly, and intentionally induced, and continue

to actively, knowingly and intentionally induce infringement of the ’234 patent by: making, using,

selling, offering for sale, importing, and/or otherwise making available and/or supplying the



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Accused Instrumentalities; with the knowledge and specific intent that third parties will use the

Accused Instrumentalities supplied by the Facebook and WhatsApp Defendants to infringe the

’234 patent; and with the knowledge and specific intent to encourage and facilitate third party

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of promotional and marketing materials, supporting materials, instructions, product

manuals, and/or technical information related to the Accused Instrumentalities.

       44.    The Facebook and WhatsApp Defendants specifically intended and were aware that

the ordinary and customary use of the Accused Instrumentalities would infringe the ’234 patent.

For example, the Facebook and WhatsApp Defendants make, sell, offer for sale, use, import, make

available, and/or provide the Accused Instrumentalities, which, when used in their ordinary and

customary manner as intended by the Facebook and WhatsApp Defendants, infringe one or more

claims of the ’234 patent, including at least exemplary claim 20. Upon information and belief,

the Facebook and WhatsApp Defendants further provide product manuals and other technical

information that cause the Facebook and WhatsApp Defendants’ customers and other third parties

to use and to operate the Accused Instrumentalities for their ordinary and customary use. The

Facebook and WhatsApp Defendants’ customers and other third parties have directly infringed

the ’234 patent, including at least exemplary claim 20, through the normal and customary use of

the Accused Instrumentalities. By providing network infrastructure, network services, and device

configurations for enabling the Accused Instrumentalities, and instruction and training to

customers and other third parties on how to use the Accused Instrumentalities in an infringing

manner, the Facebook and WhatsApp Defendants specifically intended to induce infringement of

the ’234 patent, including at least exemplary claim 20. The Facebook and WhatsApp Defendants

accordingly have induced and continue to induce the Facebook and WhatsApp Defendants’



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customers and other users of the Accused Instrumentalities in their ordinary and customary way

to infringe the ’234 patent, knowing, or at least being willful blind to the fact, that such use

constitutes infringement of the ’234 patent.

         45.   The Facebook and WhatsApp Defendants have contributed and continue to

contribute to the infringement by others, including their customers, of the ’234 patent under 35

U.S.C. § 271(c) by, among other things, making, selling, offering for sale within the United States

and/or importing into the United States or otherwise making available the Accused

Instrumentalities for use in practicing the patented inventions of the ’234 patent, knowing that the

Accused Instrumentalities and components are especially made or adapted for use in infringement

of the ’234 patent, embody a material part of the inventions claimed in the ’234 patent, and are

not staple articles of commerce suitable for substantial non-infringing use. The Facebook and

WhatsApp Defendants’ customers directly infringe the ’234 patent by using the Accused

Instrumentalities.

         46.   VoIP-Pal has been and continues to be damaged by the Facebook and WhatsApp

Defendants’ infringement of the ’234 patent.

         47.   The Facebook and WhatsApp Defendants’ conduct in infringing the ’234 patent

renders this case exceptional within the meaning of 35 U.S.C. § 285.

                                   COUNT 2
                     INFRINGEMENT OF U. S. PATENT NO. 10,880,721

         48.   Paragraphs 1 through 47 are incorporated by reference as if fully stated in this

Count.

         49.   The Facebook and WhatsApp Defendants, either alone or in conjunction with

others, have infringed and continue to infringe, both directly and indirectly, one or more claims of

the ’721 patent, including at least exemplary claim 38, under 35 U.S.C. § 271, either literally

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and/or under the doctrine of equivalents, by making, using, offering to sell, selling, and/or

importing into the United States at least certain methods, apparatuses, products and services used

for communication, including, without limitation, the Accused Instrumentalities.

       50.     For example, the Facebook and WhatsApp Defendants infringe exemplary claim

38 of the ’721 patent by making, using, offering to sell, selling, and/or importing into the United

States at least the Accused Instrumentalities as detailed in Exhibit 4 to this Complaint.

       51.     On information and belief, Facebook has had knowledge of the application that led

to the ’721 patent since at least December 18, 2015 based on a letter that VoIP-Pal sent Facebook

notifying Facebook of the application that led to the ’721 patent. After acquiring that knowledge,

Facebook infringed the ’721 patent and in doing so, it knew, or should have known, that its conduct

amounted to infringement of the ’721 patent. Facebook intentionally and deliberately did not

respond to VoIP-Pal’s letter despite being subjectively aware of the risk that its conduct

constituted infringement.

       52.     On information and belief, WhatsApp has had knowledge of the application that

led to the ’721 patent since at least February 2, 2016 based on a letter that VoIP-Pal sent WhatsApp

notifying WhatsApp of the application that led to the ’721 patent. After acquiring that knowledge,

WhatsApp infringed the ’721 patent and in doing so, it knew, or should have known, that its

conduct amounted to infringement of the ’721 patent. WhatsApp intentionally and deliberately

did not respond to VoIP-Pal’s letter despite being subjectively aware of the risk that its conduct

constituted infringement.

       53.     On information and belief, the Facebook and WhatsApp Defendants have had

knowledge of the ’721 patent since at least December 29, 2020 when the ’721 patent issued. After

acquiring that knowledge, the Facebook and WhatsApp Defendants infringed the ’721 patent and



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in doing so, they knew, or should have known, that their conduct amounted to infringement of the

’721 patent. The parties have been engaged in litigation regarding VoIP-Pal’s patents since April

2, 2020. Through these actions, the Facebook and WhatsApp Defendants have acquired intimate

knowledge of VoIP-Pal’s patent portfolio and their infringement of that portfolio, including the

’721 patent.

       54.     Alternatively, the Facebook and WhatsApp Defendants have had knowledge of the

‘721 patent and their infringement of the ’721 patent based at least on the filing of this Complaint.

       55.     Despite their knowledge and notice of the ’721 patent as of at least the filing of this

Complaint, the Facebook and WhatsApp Defendants have continued to make, use, sell, offer to

sell, and/or import the Accused Instrumentalities in the United States in a manner that infringes

the ’721 patent. The Facebook and WhatsApp Defendants knew or should have known that their

actions constituted infringement of the ’721 patent. Upon information and belief, the Facebook

and WhatsApp Defendants have failed to take adequate steps to avoid infringing the ʼ721 patent,

despite having been on notice of and lacking permission to practice the ʼ721 patent. Upon

information and belief, the Facebook and WhatsApp Defendants will continue to reap significant

revenues and savings based on their infringement of the ’721 patent. Accordingly, the Facebook

and WhatsApp Defendants’ infringement has been and continues to be willful.

       56.     The Facebook and WhatsApp Defendants have induced infringement, and continue

to induce infringement, of one or more claims of the ’721 patent under 35 U.S.C. § 271(b). The

Facebook and WhatsApp Defendants actively, knowingly, and intentionally induced, and continue

to actively, knowingly and intentionally induce infringement of the ’721 patent by: making, using,

selling, offering to sell, importing, and/or otherwise making available and/or supplying the

Accused Instrumentalities; with the knowledge and specific intent that third parties will use the



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Accused Instrumentalities supplied by the Facebook and WhatsApp Defendants to infringe the

’721 patent; and with the knowledge and specific intent to encourage and facilitate third party

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of promotional and marketing materials, supporting materials, instructions, product

manuals, and/or technical information related to the Accused Instrumentalities.

       57.    The Facebook and WhatsApp Defendants specifically intended and were aware that

the ordinary and customary use of the Accused Instrumentalities would infringe the ’721 patent.

For example, the Facebook and WhatsApp Defendants make, use, sell, offer to sell, use, import,

and/or make available and provide the Accused Instrumentalities, which, when used in their

ordinary and customary manner as intended by the Facebook and WhatsApp Defendants, infringe

one or more claims of the ’721 patent, including at least exemplary claim 38. Upon information

and belief, the Facebook and WhatsApp Defendants further provide product manuals and other

technical information that cause the Facebook and WhatsApp Defendants’ customers and other

third parties to use and to operate the Accused Instrumentalities for their ordinary and customary

use. The Facebook and WhatsApp Defendants’ customers and other third parties have directly

infringed the ’721 patent, including at least exemplary claim 38, through the normal and customary

use of the Accused Instrumentalities. By providing network infrastructure, network services and

device configurations for enabling the Accused Instrumentalities, and instruction and training to

customers and other third parties on how to use the Accused Instrumentalities in an infringing

manner, the Facebook and WhatsApp Defendants specifically intended to induce infringement of

the ’721 patent, including at least exemplary claim 38. The Facebook and WhatsApp Defendants

accordingly have induced and continue to induce the Facebook and WhatsApp Defendants’

customers and other users of the Accused Instrumentalities in their ordinary and customary way



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to infringe the ’721 patent, knowing, or at least being willful blind to the fact, that such use

constitutes infringement of the ’721 patent.

        58.    The Facebook and WhatsApp Defendants have contributed and continue to

contribute to the infringement by others, including their customers, of the ’721 patent under 35

U.S.C. § 271(c) by, among other things, making, selling, offering for sale within the United States

and/or importing into the United States the Accused Instrumentalities for use in practicing the

patented inventions of the ’721 patent, knowing that the Accused Instrumentalities and

components are especially made or adapted for use in infringement of the ’721 patent, embody a

material part of the inventions claimed in the ’721 patent, and are not staple articles of commerce

suitable for substantial non-infringing use. The Facebook and WhatsApp Defendants’ customers

directly infringe the ’721 patent by using the Accused Instrumentalities.

        59.    VoIP-Pal has been and continues to be damaged by the Facebook and WhatsApp

Defendants’ infringement of the ’721 patent.

        60.    The Facebook and WhatsApp Defendants’ conduct in infringing the ’721 patent

renders this case exceptional within the meaning of 35 U.S.C. § 285.

                                  DEMAND FOR JURY TRIAL

       Under Rule 38 of the Federal Rules of Civil Procedure and Local Rule 38(a), VoIP-Pal

demands a trial by jury on all issues so triable.



                                     PRAYER FOR RELIEF

       WHEREFORE, VoIP-Pal prays for the following relief:




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        a)       A judgment and order that the Facebook and WhatsApp Defendants have directly

infringed (either literally or under the doctrine of equivalents) and/or induced the infringement of

the patents-in-suit;

        b)       A judgment and order permanently enjoining the Facebook and WhatsApp

Defendants, their respective officers, directors, agents, servants, employees, attorneys, licensees,

successors, and assigns and any other person(s) in active concert or participation with the Facebook

and WhatsApp Defendants from directly infringing the patents-in-suit for the full term of the

patents-in-suit;

        c)       A judgment that the infringement of the patents-in-suit by the Facebook and

WhatsApp Defendants has been willful;

        d)       A judgment and order requiring the Facebook and WhatsApp Defendants to pay

VoIP-Pal an award of damages under 35 U.S.C. § 284, adequate to compensate VoIP-Pal for the

Facebook and WhatsApp Defendants’ past infringement, but in no event less than a reasonable

royalty, including enhanced damages as provided by 35 U.S.C. § 284, and supplemental damages

for any continuing post-verdict infringement up until entry of the final judgment with an

accounting, as needed, as well as damages for any continuing or future infringement up to and

including the date that the Facebook and WhatsApp Defendants are finally and permanently

enjoined from further infringement;

        e)       A judgment and order requiring that in the event a permanent injunction preventing

future acts of infringement is not granted, that VoIP-Pal be awarded a compulsory ongoing

licensing fee;




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       f)       A judgment and order that this action be found an exceptional case pursuant to 35

U.S.C. § 285, entitling VoIP-Pal to an award of all costs of this action, including attorneys’ fees

and interest;

       g)       A judgment and order requiring the Facebook and WhatsApp Defendants to pay

VoIP-Pal the costs of this action;

       h)       A judgment and order requiring the Facebook and WhatsApp Defendants to pay

VoIP-Pal pre-judgment and post-judgment interest on the damages award; and

       i)       Such other and further relief as the Court deems just and equitable.



       Dated: June 25, 2021

                                              Respectfully submitted,


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